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                       THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION

DIAMONDBACK INDUSTRIES, INC.,                 §
                                              §
              Plaintiff,                      §
                                              §
vs.                                           §    CASE NO. 6:19-CV-00034-ADA
                                              §    (Consolidated with 6:19-CV-00036-ADA)
REPEAT PRECISION, LLC; NCS                    §
MULTISTAGE, LLC; and NCS                      §
MULTISTAGE HOLDINGS, INC.,                    §
                                              §
              Defendants.                     §


                    CORRECTED AMENDED FINAL JUDGMENT


       The Court conducted a bench trial on the merits of this case in January 2020. Following

trial, the Court issued its Findings of Fact and Conclusions of Law on March 13, 2020. ECF186.

The Court has resolved all pending claims and defenses in this matter and has determined that

entry of this Amended Final Judgment is appropriate under Federal Rule of Civil Procedure 58.

Therefore, in accordance with this Court’s Findings of Fact and Conclusions of Law entered on

March 13, 2020 (ECF186), the Court ORDERS and ADJUDGES as follows:

       1.      Plaintiff Diamondback Industries, Inc. (“Diamondback”) shall take nothing on its

affirmative claims for relief against Defendants. All of Diamondback’s claims and defenses

against Defendants are DISMISSED WITH PREJUDICE.

       2.     Defendant/Counterclaim-Plaintiff Repeat Precision, LLC (“Repeat “Precision”)

recovers from Diamondback:

              a.      actual damages in the amount of $14,323,563;




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              b.      additional actual damages in the amount of $2,777,670 relating to

                      Diamondback’s infringing sales from January 1, 2020 through March 13,

                      2020, see ECF186 at ¶254;

              c.      enhanced damages under 35 U.S.C. §284 in the amount of $11,356,797;

                      and

              d.      exemplary damages in the amount of $11,488,872 relating to Repeat

                      Precision’s claims for tortious interference against Diamondback.

       3.     The Court GRANTS injunctive and declaratory relief as stated in the Findings of

Fact and Conclusions of Law (ECF186), which are expressly incorporated as if fully set forth

herein. The Court’s permanent injunction takes effect as of April 3, 2020, the date as of which

final judgment was entered. The Court hereby expressly retains jurisdiction over this matter to

ensure that the Court’s Amended Final Judgment is fully and properly implemented.

       4.     The Court hereby DECLARES as follows:

              a.      The Patent License Agreement dated March 16, 2018, as amended

       effective May 30, 2018 (the “License”), grants Repeat Precision the exclusive right to

       make, have made, use, offer to sell, sell, import or export electric wireline setting tools

       for well completions that practice U.S. Patent No. 9,810,035 (“the ’035 Patent”). That

       grant of rights under the License is exclusive as to Diamondback as well because the

       License does not reserve any rights to practice the ’035 Patent to Diamondback.

              b.      Under the License, Diamondback has a contractual obligation to make and

       sell power charges to Repeat Precision, its customers, and the contractors working with

       Repeat Precision and its customers that may be used to operate Repeat Precision’s

       disposable setting tools that practice the claims of the ’035 Patent.




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              c.      The License grants Repeat Precision an implied, non-exclusive license to

       make, have made, use, offer to sell, sell, and import power charges that practice U.S.

       Patent No. 9,453,382 B2 and/or U.S. Patent No. 10,107,054 B2 for use with Licensed

       Products within the scope of the Licensed Patents under the License.

              d.      The right of first refusal provision stated in the License remains in effect,

       and has not been terminated.

       5.     This Court’s Preliminary Injunction dated February 19, 2019 (ECF15) expires by

its own terms upon entry of this Amended Final Judgment. Accordingly, the Court hereby

directs the Clerk to promptly release the $25,000 bond payment Repeat Precision made in

support of that Preliminary Injunction (ECF21) by making payment directed and deliverable to

Repeat Precision.

       6.     Diamondback shall pay post-judgment interest on all amounts awarded in this

Amended Final Judgment at the rate of 0.22% per annum.

       7.     All Defendants are awarded recovery of their costs and reasonable and necessary

attorneys’ fees in an amount to be determined following entry of this Amended Final Judgment.

See Fed. R. Civ. P. 54(b); see also ECF192 (establishing schedule for submitting claims for costs

and fees). The Court is not delaying entry of this Amended Final Judgment pending entry of a

determination on the amount of fees and costs due to Defendants. See Fed. R. Civ. P. 58(e).

       8.     All other relief requested by a party is DENIED.

       This is the Court’s FINAL JUDGMENT.




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SIGNED this 16th day of April, 2020.




                                  ALAN D ALBRIGHT
                                  UNITED STATES DISTRICT JUDGE




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